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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
CATHERINE MCKOY, et al.,

                               Plaintiffs,
                                                            CIVIL ACTION NO.: 18 Civ. 9936 (LGS) (SLC)
       -v-
                                                                SEVENTH AMENDED CIVIL CASE
                                                              MANAGEMENT PLAN AND SCHEDULING
THE TRUMP CORPORATION, et al.,                                           ORDER

                               Defendants.


SARAH L. CAVE, United States Magistrate Judge.

       The parties’ request (ECF No. 455) for an extension of the discovery schedule is GRANTED,

and the case management plan is amended as follows:

       1. All fact discovery, including depositions, shall be completed by September 30, 2022;

       2. By October 7, 2022, the parties shall file a joint letter certifying the completion of fact

             discovery;

       3. All expert discovery, including depositions, shall be completed by February 17, 2023,

             and shall proceed as follows:

                a. By November 3, 2022, affirmative experts shall be identified;

                b. By November 18, 2022, affirmative expert reports shall be served;

                c. By January 1, 2023, rebuttal experts shall be identified; and

                d. By January 16, 2023, rebuttal expert reports shall be served;

       4. By February 24, 2023, the parties shall file a joint letter certifying the completion of

             expert discovery and advising whether they wish for the Court to conduct a

             settlement conference; and
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         5. The briefing schedule for Plaintiffs’ anticipated motion for class certification

            (the “Motion”) is amended as follows:

               a. By March 3, 2023, Plaintiffs shall file the Motion;

               b. By April 18, 2023, Defendants shall file their opposition to the Motion; and

               c. By May 15, 2023, Plaintiffs shall file their reply, if any.

Dated:         New York, New York
               August 9, 2022

                                                      SO ORDERED.



                                                      _________________________
                                                      SARAH L. CAVE
                                                      United States Magistrate Judge




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